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                   MOTION TO WITHDRAW AS COUNSEL

    Defendants Superintendence of the Catholic Schools of the Archdioceses San

Juan and Samuel Soto respectfully move, under Local Rule 83D(b), for leave

authorizing Attorneys Jaime L. Sanabria’s and Arturo V. Bauermeister’s

withdrawals as counsel.




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    The Superintendence of the Catholic Schools of the Archdioceses San Juan and

Samuel Soto will continue being represented by Attorneys Pedro Buso1 and Frank

Zorrilla. See ECF No. 22 (Attorney Zorrilla’s appearance as counsel for the

Superintendence of the Catholic Schools of the Archdioceses San Juan and Samuel

Soto). Insofar as the undersigned attorneys (inadvertently2) appeared on behalf of the

Catholic Schools of the Archdioceses of San Juan Pension Plan, they also request

leave to withdraw as its counsel. This codefendant will continue being represented by

Attorney Jesus R. Rabell Mendez, see ECF No. 26 (appearing as counsel for “the

Catholic School Employees Pension Trust”), and by Attorney Zorrilla, see ECF No. 40,

p. 2 (so showing).

    For the reasons stated, this Court should grant this motion and therefore

authorize Attorney Sanabria’s and Bauermeister’s withdrawals as counsel.

    Dated: December 21, 2017                            Respectfully submitted,

                                          Sanabria Bauermeister Garcia & Berio,

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                                                San Juan, PR 00920
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1 On July 8, 2016, Attorney Buso first appeared on behalf of the Superintendence of the
Catholic Schools of the Archdioceses San Juan and Samuel Soto. See ECF No. 18. Then, on
August 14, 2017, Attorney Buso moved to withdraw only as counsel for Superintendence of
the Catholic Schools of the Archdioceses San Juan. See ECF Nos. 128 and 129 (granting ECF
No. 128). Finally, on December 13, 2017, Attorney Buso filed a motion asking this Court to
“allow . . . [him] to appear as counsel for” the Superintendence of the Catholic Schools of the
Archdioceses San Juan and Samuel Soto. See ECF No. 163.

2The Electronic Civil Docket for Case No. 16-2077 shows that the Catholic Schools of the
Archdioceses of San Juan Pension Plan is currently being represented by Attorneys Arturo
V. Bauermeister-Fernandez, Frank Zorrilla-Maldonado, Jaime Luis Sanabria-Montanez,
Jesus R. Rabell-Mendez, and Pedro A. Buso-Garcia.

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                                  /S/ JAIME L. SANABRIA
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                          CERTIFICATE OF SERVICE

      I certify that, on this day, the foregoing was electronically filed with the Clerk

of Court by using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record.



                                       By: /s/ Arturo V. Bauermeister




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